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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

                            CASE NO.: 1:22-cv-03039-STV

JOHN MEGGS,

      Plaintiff,

v.

SCHREIVOGEL INVESTMENTS LLC
and EL TAPATIO ALAMEDA, INC.
D/B/A EL TAPATIO MEXICAN RESTAURANT,

      Defendants.


                   JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


     Plaintiff, JOHN MEGGS, and Defendant SCHREIVOGEL INVESTMENTS LLC,

hereby advise the Court that the parties have reached an agreement and have globally

settled the instant case. Plaintiff and Defendant, by and through undersigned counsel,

and pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), hereby STIPULATE

AND AGREE that this matter has been settled and to the immediate dismissal of this

action with prejudice, with each party to bear its own attorney’s fees and costs except

as indicated in the settlement agreement.

STIPULATED AND AGREED by Counsel for the Parties on the dates below written.
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Respectfully submitted on November 1, 2023.

 /s/ Anthony J. Perez                      /s/ Joseph R. Kummer
 ANTHONY J. PEREZ, ESQ.                    JOSEPH R. KUMMER
 GARCIA-MENOCAL & PEREZ, P.L.              JACHIMIAK PETERSON KUMMER, LLC
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 Attorney for Plaintiff                    Attorney for Defendant SCHREIVOGEL
                                           INVESTMENTS LLC




                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing was served via

the Court's electronic filing system upon all parties of record on November 1, 2023.


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                                                By: ___/s/_Anthony J. Perez________
                                                      ANTHONY J. PEREZ




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